            Case 15-13369         Doc 247       Filed 11/08/18 Entered 11/08/18 17:01:44                Desc Main
                                                 Document     Page 1 of 5




                                   UNITED STATES BANKRUPTCY COURT
                                      DISTRICT OF MASSACHUSETTS
                                           EASTERN DIVISION
IN RE: ANDRE BISASOR                                            CASE NO: 15-13369
                                                                DECLARATION OF MAILING
                                                                CERTIFICATE OF SERVICE
                                                                Chapter: 7
                                                                ECF Docket Reference No. 245
                                                                Judge: Feeney




On 11/8/2018, I did cause a copy of the following documents, described below,
Motion for Approval of Settlement, with Settlement ECF Docket Reference No. 245




to be served for delivery by the United States Postal Service, via First Class United States Mail, postage prepaid, with
sufficient postage thereon to the parties listed on the mailing matrix exhibit, a copy of which is attached hereto and
incorporated as if fully set forth herein.
I caused these documents to be served by utilizing the services of BK Attorney Services, LLC d/b/a certificateofservice.com,
an Approved Bankruptcy Notice Provider authorized by the United States Courts Administrative Office, pursuant to Fed.R.
Bankr.P. 9001(9) and 2002(g)(4). A copy of the declaration of service is attached hereto and incorporated as if fully set forth
herein.
Parties who are participants in the Courts Electronic Noticing System ("NEF"), if any, were denoted as having been served
electronically with the documents described herein per the ECF/PACER system.
DATED: 11/8/2018
                                                          /s/ David G. Baker, Esq.
                                                          David G. Baker, Esq. 634889
                                                          Law Office of David G. Baker
                                                          236 Huntington Avenue Ste. 317
                                                          Boston, MA 02115
                                                          617 367 4260
                Case 15-13369           Doc 247        Filed 11/08/18 Entered 11/08/18 17:01:44                       Desc Main
                                                        Document     Page 2 of 5




                                        UNITED STATES BANKRUPTCY COURT
                                           DISTRICT OF MASSACHUSETTS
                                                EASTERN DIVISION
 IN RE: ANDRE BISASOR                                                   CASE NO: 15-13369

                                                                        CERTIFICATE OF SERVICE
                                                                        DECLARATION OF MAILING
                                                                        Chapter: 7
                                                                        ECF Docket Reference No. 245
                                                                        Judge: Feeney




On 11/8/2018, a copy of the following documents, described below,

Motion for Approval of Settlement, with Settlement ECF Docket Reference No. 245




were deposited for delivery by the United States Postal Service, via First Class United States Mail, postage prepaid, with sufficient postage thereon
to the parties listed on the mailing matrix exhibit, a copy of which is attached hereto and incorporated as if fully set forth herein.

The undersigned does hereby declare under penalty of perjury of the laws of the United States that I have served the above referenced document
(s) on the mailing list attached hereto in the manner shown and prepared the Declaration of Certificate of Service and that it is true and correct to
the best of my knowledge, information, and belief.

DATED: 11/8/2018




                                                                            Jay S. Jump
                                                                            BK Attorney Services, LLC
                                                                            d/b/a certificateofservice.com, for
                                                                            David G. Baker, Esq.
                                                                            Law Office of David G. Baker
                                                                            236 Huntington Avenue Ste. 317
                                                                            Boston, MA 02115
            Case 15-13369
PARTIES DESIGNATED              Doc NOT
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PARTIES WITH A '+' AND DESIGNATED AS "CM/ECF E-SERVICE" RECEIVED ELECTRONIC NOTICE THROUGH THE CM/ECF SYSTEM
                                             Document        Page 3 of 5
CASE INFO                                EXCLUDE                                  EXCLUDE
LABEL MATRIX FOR LOCAL NOTICING          FOLEY HOAG LLP                           GREYSTAR MANAGEMENT SERVICES LP AS
01011                                    155 SEAPORT BOULEVARD                    AGENT FOR
CASE 15-13369                            BOSTON MA 02210-2600                     1000 PRESIDENTS WAY
DISTRICT OF MASSACHUSETTS                                                         DEDHAM MA 02026-4557
BOSTON
THU NOV 8 11-36-32 EST 2018


EXCLUDE                                  AMERICAN INFOSOURCE LP AS AGENT FOR      BANK OF AMERICA
BOSTON                                   VERIZON                                  PO BOX 982238
U S BANKRUPTCY COURT                     PO BOX 248838                            EL PASO TX 79998-2238
JW MCCORMACK POST OFFICE COURT HOUSE     OKLAHOMA CITY OK 73124-8838
5 POST OFFICE SQUARE SUITE 1150
BOSTON MA 02109-3945




CAPITAL ONE NA                           CAPITAL RECOVERY SYSTEMS                 CAVALRY INVESTMENTS LLC
CO BECKET LEE LLP                        249 SOUTH STREET                         500 SUMMIT LAKE DRIVE STE 400
POB 3001                                 PLAINVILLE MA 02762-1507                 VALHALLA NY 10595-2321
MALVERN PA 19355-0701




CAVALRY PORTFOLIO SERVICES               CHASE CARD                               CITIZENS BANKRBS CITIZENS FINANCIAL
CO ORIGINAL CREDITOR                     PO BOX 15298                             GROUP
CREDIT ONE BANK NA                       WILMINGTON DE 19850-5298                 ONE CITIZENS PLAZA
500 SUMMIT LAKE DRIVE                                                             PROVIDENCE RI 02903-1345
VALHALLA NY 10595-1340




COMCAST                                  COMCAST BOSTON                           CREDIT ONE BANK
PO BOX 1577                              3303 MAIN ST                             PO BOX 98872
NEWARK NJ 07101-1577                     SPRINGFIELD MA 01107-1133                LAS VEGAS NV 89193-8872




CREDIT ONE BANK                          DANSLAV SLAVENSKOJ                       DAVID G BAKER ESQ
PO BOX 98873                             2 GREENOUGH AVENUE 8                     236 HUNTINGTON AVENUE STE 306
LAS VEGAS NV 89193-8873                  BOSTON MA 02130-2871                     BOSTON MA 02115-4701




DIAMOND RESORTS INTERNATIONAL            DIRECT LOAN SVC SYSTEM                   EDUCATIONAL COMPUTER SYSTEMS INC ESCI
10600 WEST CHARLESTON BOULEVARD          PO BOX 5609                              181 MONTOUR RUN ROAD
LAS VEGAS NV 89135-1260                  GREENVILLE TX 75403-5609                 CORAOPOLIS PA 15108-9408




                                         EXCLUDE
EVERSOURCE                                                                        GECRBWALMART
PO BOX 660369                            FOLEY HOAG LLP                           PO BOX 965024
DALLAS TX 75266-0369                     SEAPORT WEST                             ORLANDO FL 32896-5024
                                         155 SEAPORT BOULEVARD
                                         BOSTON MA 02210-2600




GOLDSTEIN AND FEUER                      HSBC BANK                                HSBC BEST BUY
678 MASSACHUSETTS AVE SUITE 702          PO BOX 9                                 PO BOX 9
CAMBRIDGE MA 02139-3363                  BUFFALO NY 14240-0009                    BUFFALO NY 14240-0009
            Case 15-13369
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                                             Document        Page 4 of 5
KOHLSCAPITAL ONE                         MASSACHUSETTS DEPARTMENT OF REVENUE      MIDLAND CREDIT MANAGEMENT INC AS AGENT
PO BOX 3115                              BANKRUPTCY UNIT                          FOR
MILWAUKEE WI 53201-3115                  PO BOX 9564                              MIDLAND FUNDING LLC
                                         BOSTON MA 02114-9564                     PO BOX 2011
                                                                                  WARREN MI 48090-2011




MIDLAND CREDIT MGMT INC                  MIDLAND FUNDING LLC                      NAVIENT
8875 AERO DRIVE SUITE 200                2365 NORTHSIDE DRIVE SUITE 300           300 CONTINENTAL DR
SAN DIEGO CA 92123-2255                  SAN DIEGO CA 92108-2709                  NEWARK DE 19713-4322




NAVIENT                                  NAVIENT SOLUTIONS INC ON BEHALF OF DPT   NORFOLK LAW LIBRARY
PO BOX 9500                              OF                                       649 HIGH STREET
WILKES-BARRE PA 18773-9500               NAVIENT SOLUTIONS INC                    DEDHAM MA 02026-1831
                                         DEPARTMENT OF EDUCATION LOAN SERVICES
                                         PO BOX 9635
                                         WILKES-BARRE PA 18773-9635




NSTAR GAS COMPANY AND NSTAR ELECTRIC     ORAL ROBERTS UNIVERSITY                  OTTENBERG DUNKLESS LLP
COMPA                                    7777 S LEWIS AVE                         99 SUMMER STREET SUITE 100
ATTN LEGAL COLLECTIONS                   PO BOX 700895                            BOSTON MA 02110-1221
1 NSTAR WAY NW 220                       TULSA OK 74170-0895
WESTWOOD MA 02090-2341




PATHWAY LAWCG LANG                       PORTFOLIO RECOVERY ASSOCIATES LLC        RAR2 JEFFERSON AT DEDHAM STATION MA
1842 CENTRE STREET                       PO BOX 41067                             INC
WEST ROXBURY MA 02132-1911               NORFOLK VA 23541-1067                    1000 PRESIDENTS WAY
                                                                                  DEDHAM MA 02026-4557




RECEIVABLES PERFORMANCE MANAGEMENT LLC   SYNCBWAL MART                            SALLIE MAE
20816 44TH AVE W                         PO BOX 965024                            300 CONTINENTAL DR
LYNNWOOD WA 98036-7744                   ORLANDO FL 32896-5024                    NEWARK DE 19713-4322




TARGET NATIONAL BANK                     US DEPARTMENT OF EDUCATION AFSA          VERIZON WIRELESS
CO TARGET CREDIT SERVICES                PO BOX 7202                              PO BOX 1548
PO BOX 673                               UTICA NY 13504-7202                      LYNWOOD WA 98046-1548
MINNEAPOLIS MN 55440-0673




VERIZON WIRELESS                         VERIZON WIRELESSSOUTHEAST                WARSHAW DICARLO ASSOCIATES PC
PO BOX 4003                              PO BOX 26055                             77 NEWBURY STREET
ACWORTH GA 30101-9004                    MINNEAPOLIS MN 55426-0055                BOSTON MA 02116-2933




                                         DEBTOR
WELLS FARGO EDUC FINANCE                                                          DAVID G BAKER
PO BOX 5185                              ANDRE BISASOR                            236 HUNTINGTON AVE
SIOUX FALLS SD 57117-5185                119 DRUM HILL ROAD                       SUITE 302
                                         223                                      BOSTON MA 02115-4701
                                         CHELMSFORD MA 01824-1505
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                                             Document        Page 5 of 5
EXCLUDE                                  EXCLUDE                                  JOHN FITZGERALD
DMITRY LEV                               JOHN AQUINO                              OFFICE OF THE US TRUSTEE
LAW OFFICES OF D LEV PC                  ANDERSON AQUINO LLP                      JW MCCORMACK POST OFFICE COURTHOUSE
134 MAIN STREET                          240 LEWIS WHARF                          5 POST OFFICE SQ 10TH FL SUITE 1000
WATERTOWN MA 02472-4416                  BOSTON MA 02110-3927                     BOSTON MA 02109-3901
